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                   UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK

                    UNITED STATES OF AMERICA                               SEALED INDICTMENT

                                             V.                            23 Cr.

                    MICHAEL SHVARTSMAN,
                    GERALDSHVARTSMAN,and
                    BRUCE GARELICK,

                                                  Defendants.
                                                                                                        30                  I'
                                                                                                                          . .'




                                                                COUNT ONE
                                                   (Conspiracy to Commit Securities Fraud)

                             The Grand Jury charges:

                             1.       MICHAEL SHVARTSMAN, GERALD SHVARTSMAN, and BRUCE

                   GARELICK, the defendants, together made more than $22 million dollars in illegal profits by

                   trading in securities of a special purpose acquisition corporation ("SP AC") named Digital World

                   Acquisition Corporation ("DWAC") based on insider information that the SPAC was going to

                   take public a media company owned by former U.S. President Donald J. Trump. In violation of

                   duties they owed to DWAC, the defendants exploited confidential information they possessed

                   regarding DWAC ' s target, its plans, and its negotiations in order to execute profitable and timely

                   trades.

                             2.       As sophisticated investors, MICHAEL SHVARTSMAN, GERALD

                   SHVARTSMAN, and BRUCE GARELICK, the defendants, were invited to invest in DWAC,

                   and after signing non-disclosure agreements with DWAC and another SPAC, Benessere Capital

                   Acquisition Corporation ("Benessere"), were provided confidential information about DWAC 's

                   and Benessere's potential business combination targets, which included a media company
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    founded by President Donald J. Trump called Trump Media & Technology Group ("Trump

    Media"). As a condition of receiving this information, the defendants were prohibited by the

    non-disclosure agreements from disclosing the confidential information they learned or using it

    to buy and sell securities on the open market.

            3.      After MICHAEL SHVARTSMAN, GERALD SHVARTSMAN, and BRUCE

    GARELICK, the defendants, made an initial investment into DWAC, which was negotiated

    directly with DWAC rather than made on the open market, DWAC gave GARELICK a seat on

    DWAC's board of directors . As a board member, GARELICK had access to valuable material

    non-public information about DWAC ' s plans to merge with Trump Media. But, in contravention

    of his duties and responsibilities as a board member, GARELICK provided DWAC 's

    confidential information about its merger plans to his co-conspirators, allowing them to make

    lucrative trades in DWAC securities. After the defendants learned about DWAC 's plans to move

    forward with a business combination with Trump Media, but before those plans were publicly

    known, the defendants bought millions of dollars ofDWAC securities on the open market so that

    they could be in a position to profit after the merger was announced publicly. In addition to their

    own purchases, the defendants also passed DWAC's confidential information to their friends

    and/or employees, who also purchased tens of thousands of DWAC securities in advance of the

    SPAC 's merger announcement.

            4.      After DWAC ' s merger with Trump Media was announced publicly, and the stock

    and warrant holdings of MICHAEL SHVARTSMAN, GERALD SHVARTSMAN, and BRUCE

    GARELICK, the defendants, and those they tipped, significantly increased in value, the

    defendants sold their securities for a significant profit.




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                                            Background

        5.       Digital World Acquisition Corporation and Benessere Capital Acquisition

Corporation are SPACs. A SPAC, sometimes called a "blank check" company, is a company

that has no operating business of its own at the time that it becomes a publicly traded company.

The purpose of a SP AC is to merge with a private company so that the private company may

become publicly traded. Typically, after a SP AC becomes publicly traded, it identifies several

potential target operating companies, negotiates with one or more, and ultimately merges with an

operating company. After the deal is complete, the shares of the SP AC become the shares of the

operating company, which then can be bought and sold by the public on a stock exchange.

While not always the case, the price of shares of a SPAC often increases after a public

announcement of a business combination with a private company. The magnitude of the

increase is determined, at least in part, by the market demand for shares in the target company.

        6.       In early 2021, representatives of the private company Trump Media, including

former President Trump, began communicating with the principals of Benessere about a

potential merger to take Trump Media public through a SP AC. Between in or about March and

June 202 1, Trump Media and Benessere entered into nonbinding letters of intent to merge.

Those letters of intent included confidentiality provisions that specified that the information

about the potential merger between Trump Media and Benessere was material non-public

information that should be kept confidential. The letters of intent did, however, provide that

Benessere and its agents could share confidential information with potential investors in the

SPAC.

        7.       By in or about the summer of 2021, the chief eX,ecutive officer of Benessere (the

"CEO") was attempting to solicit investors in another, new SP AC that he managed but that had



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not yet gone public- DWAC. The CEO was introduced to MICHAEL SHV ARTSMAN, the

defendant, and in June 2021, the CEO and MICHAEL SHVARTSMAN met at the offices of

Rocket One Capital LLC-a venture capital firm owned by MICHAEL SHVARTSMAN- to

discuss a potential investment in Benessere and DWAC. MICHAEL SHVARTSMAN's brother,

GERALD SHVARTSMAN, the defendant, and Rocket One's chief investment officer, BRUCE

GARELICK, the defendant, were also present during this meeting.

       8.       Before there was any substantive discussion about the SP A Cs, MICHAEL

SHV ARTSMAN, GERALD SHVARTSMAN, and BRUCE GARELICK, the defendants, were

required to sign confidentiality agreements with Benessere and DWAC. Those confidentiality

agreements stated, in sum and substance, that the defendants could use the information provided

by the SPA Cs only to consider whether to invest directly in DWAC or Benessere, i.e., through

the purchase of "locked up" founder shares or units issued as part of the initial public offering.

The agreements also stated that the defendants could not disclose material non-public

information they learned from Benessere or DWAC, or use it to engage in securities trading on

the open market on the basis of material non-public information. After signing the

confidentiality agreements, MICHAEL SHVARTSMAN, GERALD SHVARTSMAN, and

GARELICK were provided highly confidential information about the potential business

combination targets of Benessere and DWAC, including the fact that Benessere had executed a

letter of intent with Trump Media. Later, throughout in or about June 2021, the defendants had

additional telephone calls with the CEO, during which the CEO repeatedly stated that Trump

Media had become a likely target for DWAC.

       9.       MICHAEL SHVARTSMAN, GERALD SHVARTSMAN, and BRUCE

GARELICK, the defendants, decided to invest hundreds of thousands of dollars in founder



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     shares and initial public offering units ofDWAC. As a condition of MICHAEL

     SHYARTSMAN's large investment in the SPAC, in or about July 2021, GARELICK was

     named a director of DWAC. As a director, GARELICK became subject to a code of ethics that,

     among other things, prohibited his misuse of confidential information by, for instance, insider

     trading.

                10.   As a member ofDWAC's board of directors, BRUCE GARELICK, the

     defendant, was privy to material non-public information about DWAC's negotiations with

     acquisition targets, including Trump Media. At the time, DWAC's potential business

     combination with Trump Media was not public, and GARELICK was being provided

     information that would have been highly material to DWAC's share price. For example, in or

     about September 2021 , GARELICK attended a DWAC board meeting at which he learned

     confidential information about the potential merger targets with which DWAC planned to

     negotiate letters of intent. In or around September and October 2021, GARELICK again was

     provided confidential information, which he was obligated to protect and not disclose, about the

     status of merger negotiations between DWAC and Trump Media, the timing of a letter of intent

     and merger agreement, deal terms, and a likely closing date. After learning material non-public

     information through his role on DWAC' s board, GARELICK provided updates to MICHAEL

     SHY ARTSMAN, the defendant, about the status of the merger negotiations and the timing of a

     public merger announcement, and MICHAEL SHYARTSMAN in turn provided the same

     information to his brother, GERALD SHYARTSMAN, the defendant.

                           The Defendants' Insider Trading ofDWAC Securities

                11.   From in or about September through October 2021, MICHAEL SHYARTSMAN,

     GERALD SHY ARTSMAN, and BRUCE GARELICK, the defendants, used material non-public



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    information about the fact that Trump Media was a likely acquisition target for DWAC to make

    well-timed purchases of DWAC securities on the Nasdaq exchange. The defendants knew that

    Trump Media was a merger target for DWAC by virtue of the confidential information disclosed

    to them pursuant to non-disclosure agreements, as well as through non-public information that

    GARELICK learned as a board member, and therefore they were able to make trades that, based

    on that confidential information, they anticipated would be and ultimately in fact were lucrative.

            12.     . In order to increase their investments in DWAC, which they knew would be

    profitable by virtue of their knowledge of material non-public information, MICHAEL

    SHVARTSMAN, GERALD SHV ARTSMAN, and BRUCE GARELICK, the defendants,

    purchased DWAC units,and warrants on the Nasdaq from sellers, including counterparties in the

    Southern Distrjct of New York, who did not have advance knowledge of the SPAC's plans.

    Specifically:

                    a.     On the first day of open market trading of DWAC, on or about September

    3, 2021 , BRUCE GARELICK, the defendant, purchased approximately 610 units ofDWAC on

    the open market. On or about September 10, 2021 , GARELICK purchased an additional 300

    units of DWAC on the open market. On or about September 17, 2021 , after learning that there

    would be a DWAC board meeting a few days later, GARELICK purchased 410 units of DWAC.

    On or about September 20, 2021 , after receiving another update about the timing of the board

    meeting, GARELICK purchase 900 units ofDWAC. That same day, GARELICK texted

    MICHAEL SHVARTMAN, the defendant, that he had a DWAC board meeting the next day and

    that he "recommended starting to buy more DWACU [DWAC unit] stock." Shortly before the

    start of the board meeting on or about September 21, 2021, GARELICK purchased another 1,800

    units of DWAC. On or about September 23 , 2021, after the board meeting and after learning that



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DWAC had executed a letter of intent with Trump Media, GARELICK purchased 1,3 00 DWAC

units. Despite being a director of DWAC, and as a further act of concealment of his insider

trading, GARELICK did not make any filings on SEC Form 3 with the Securities and Exchange

Commission disclosing his purchases ofDWAC securities, as he was required to do so by law.

              b.      After DWAC executed a letter of intent with Trump Media on or around

September 23, 2021, BRUCE GARELICK, the defendant, had several conversations with

MICHAEL SHVARTSMAN, the defendant, in which he conveyed material non-public

information to MICHAEL SHVARTSMAN and encouraged him to buy DWAC securities. The

day after the letter of intent was signed, for instance, GARELICK texted MICHAEL

SHVARTSMAN that he had "intelligence to share with you." GARELICK and MICHAEL

SHV ARTSMAN subsequently spoke, and on or about October 1, 2021, once DWAC warrants

began trading on the Nasdaq exchange, MICHAEL SHVARTSMAN purchased 2,000,000

DWAC warrants over three days.

              c.      On or about October 7, 2021 , shortly after MICHAEL SHV ARTSMAN,

the defendani~'-purchased DWAC warrants based on material non-public information, his brother,

GERALD SHVARTSMAN, the defendant, purchased 275 ,000 DWAC warrants. Additionally,

while in the possession of material non-public information, GERALD SHVARTSMAN

purchased an additional 25,000 DWAC warrants on or about October 8, 2021 , and 100,000 more

DWAC warrants on or about October 18, 2021.

       13.    In addition to purchasing DWAC units and warrants based on material non-public

information, MICHAEL SHV ARTSMAN, GERALD SHVARTSMAN, and BRUCE

GARELICK, the defendants, also provided material non-public information to their friends and

employees, in violation of the non-disclosure obligations they had to DWAC. Specifically:



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              a.      On or about September 30 and October 1, 2021, MICHAEL

SHVARTSMAN, the defendant, told his neighbor that he should invest in the stock and that it ·

was a good bet. MICHAEL SHVARTSMAN, however, did not disclose to his neighbor that he

had material non-public information about the stock or new its eventual merger partner.

MICHAEL SHVARTSMAN' s neighbor purchased approximately 1,809 DWAC shares.

              b.      In or about June 2021, MICHAEL SHVARTSMAN and BRUCE

GARELICK, the defendants, shared material non-public information about DWAC and

Benessere with a business associate of MICHAEL SHVARTSMAN. After DWAC's initial

public offering, on or around September 8, 2021, GARELICK told the business associate that the

business combination between DWAC and Trump Media was expected in six to ten weeks, and

that GARELICK and MICHAEL SHVARTSMAN intended to purchase approximately $255,000

of additional DWAC securities on the open market over the next month. After receiving

additional non-public information from GARELICK and MICHAEL SHV ARTSMAN about

DWAC ' s planned business combination in or around September and October 2021, MICHAEL

SHVARTSMAN' s business associate purchased approximately 1,000 DWAC warrants on or

about October 6, 2021, and an additional 11 ,300 DWAC warrants on October 7, 2021.

              c.      On or about October 19, 2021, MICHAEL SHVARTSMAN and BRUCE

GARELICK, the defendants, were in Las Vegas, Nevada, with a friend of MICHAEL

SHV ARTSMAN for a conference. That evening GARELICK participated in a virtual DWAC

board meeting at which finalization of the Trump Media merger was discussed. The next

morning, MICHAEL SHVARTSMAN's friend purchased 150,000 DWAC warrants about the

pending but not public merger announcement. MICHAEL SHVARTSMAN's business associate




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was also in Las Vegas with MICHAEL SHV ARTSMAN, and he also purchased an additional

100,000 DWAC warrants on or about October 20, 2021.

               d.     On or about October 18 or 19, 2021, GERALD SHVARTSMAN, the

defendant, called one of the employees at his business, Source Outdoor Furniture, an outdoor

furniture supply store ("Source Outdoor Employee-I"), and told him to buy DWAC warrants.

GERALD SHVARTSMAN told Source Outdoor Employee-I, in sum and substance, to buy

DWAC warrants because DWAC was going to merge with former President Trump ' s media

company, the merger had been approved, the merger would be announced sometime in the next

two weeks, GERALD SHV ARTSMAN had invested approximately $500,000 in DWAC, and

GERALD SHV ARTSMAN 's brother had invested up to $1 million in DWAC. Based on this tip,

on or about Octa ber 19, 2021, Source Outdoor Employee- I purchased approximately 1,301

DWAC shares on the open market prior to the announcement of the Trump Media merger.

Source Outdoor Employee- I also told two of his friends about the tip, and both of them traded

DWAC's stock prior to the announcement.

              e.      On or about October 19, 2021 , GERALD SHV ARTSMAN, the defendant,

called a second employee of his business ("Source Outdoor Employee-2") and told him, in sum

and substance, to buy DWAC warrants because DWAC was going to announce that it was

merging with Trump Media within the next two weeks. The same day, Source Outdoor

Employee-2 purchased approximately 100,000 DWAC warrants. Source Outdoor Employee-2

also told his father and a friend about the tip, both of whom bought DWAC warrants prior to the

Trump Media merger announcement.

       14.     On or about October 20, 2021, after the close of trading, a spokesperson for

former President Trump posted a press release to Twitter announcing the planned merger of



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    DWAC and Trump Media. After the public announcement of the DWAC-Trump Media merger

    agreement, the share and warrant prices ofDWAC increased substantially. Thereafter, BRUCE

    GARELICK, the defendant, sold all the DWAC securities he had purchased on the open market

    for a profit of approximately $49,702. MICHAEL SHVARTSMAN, the defendant, sold the

    DWAC securities that Rocket One purchased on the open market for a profit of approximately

    $18.2 million. GERALD SHV ARTS MAN, the defendant, sold the DWAC securities he

    purchased on the open market for a profit of approximately $4.6 million.

                                           Statutory Allegations

           15.     From at least in or about June 2021 up to and including at least in or about

    November 2021, in the Southern District of New York and elsewhere, MICHAEL

    SHV ARTSMAN, GERALD SHVARTSMAN, and BRUCE GARELICK, the defendants, and

    others known and unknown, willfully and knowingly, did combine, conspire, confederate, and

    agree together and with each other to commit an offense against the United States, to wit,

    (i) securities fraud, in violation of Title 15, United States Code, Sections 78j(b) and 78ff, and

    Title 17, Code of Federal Regulations, Section 240. l0b-5; and (ii) securities fraud, in violation of

    Title 18, United States Code, Section 1348.

           16.     It was a part and object of the conspiracy that MICHAEL SHVARTSMAN,

    GERALD SHV ARTSMAN, and BRUCE GARELICK, the defendants, and others known and

    unknown, willfully and knowingly, directly and indirectly, by use of a means and instrumentality

    of interstate commerce and of the mails, and a facility of a national securities exchange, would and

    did use and employ, in connection with the purchase and sale of a security, a manipulative and

    deceptive device and contrivance, in violation of Title 17, Code of Federal Regulations, Section

    240.lOb-5, by (a) employing a device, scheme, and artifice to defraud; (b) making an untrue
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statement of a material fact and omitting to state a material fact necessary in order to make the

statements made, in light of the circumstances under which they were made, not misleading; and

(c) engaging in an act, practice, and courses of business which operated and would operate as a

fraud and deceit on a person, in violation of Title 15, United States Code, Section 78j(b) and 78ff.

       17.     It was fwiher a part and object of the conspiracy that MICHAEL SHVARTSMAN,

GERALD SHVARTSMAN, and BRUCE GARELICK, the defendants, and others known and

unknown, would and did knowingly execute, and attempt to execute, a scheme and artifice to

(a) defraud a person in connection with a security of an issuer with a class of securities registered

under Section 12 of the Securities Exchange Act of 1934 and that was required to file reports under

Section 15(d) of the Securities Exchange Act of 1934, and (b) obtain, by means of false and

fraudulent pretenses, representations, and promises, money and property in connection with the

purchase and sale of a security of an issuer with a class of securities registered under Section 12

of the Securities Exchange Act of 1934 and that was required to file reports under Section 15(d)

of the Securities Exchange Act of1934, in violation of Title 18, United States Code, Section 1348.

                                            Overt Acts

       18.     In furtherance of the conspiracy and to effect its illegal objects, MICHAEL

SHVARTSMAN, GERALD SHVARTSMAN, and BRUCE GARELICK, the defendants,

committed and caused to be committed the following overt acts, among others, in the Southern

District of New York and elsewhere: on multiple occasions, the defendants traded or caused others

to trade in DWAC securities that were listed on Nasdaq exchange with counterparties located in

New York, New York.

                           (Title 18, United States Code, Section 371.)




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                                    COUNT TWO THROUGH NINE
                                         (Securities Fraud)

           The Grand Jury further charges:

            19.     The allegations contained in paragraphs 1 through 14 of this Indictment are

    hereby repeated, realleged, and incorporated by reference, as if fully set forth herein.

           20.      On the dates set forth below, in the Southern District of New York and elsewhere,

    MICHAEL SHVARTSMAN, GERALD SHVARTSMAN, and BRUCE GARELICK, the

    defendants, willfully and knowingly, directly and indirectly, by the use of a means and

    instrumentality of interstate commerce and of the mails, and a facility of a national securities

    exchange, used and employed, in connection with the purchase and sale of a security, a

    manipulative and deceptive device and contrivance, in violation of Title 17, Code of Federal

    Regulations, Section 240.1 0b-5, by (a) employing a device, scheme, and artifice to defraud;

    (b) making an untrue statement of a material fact and omitting to state a material fact necessary

    in order to make the statements made, in light of the circumstances under which they were made,

    not misleading; and (c) engaging in an act, practice, and course of business which operated and

    would operate as a fraud and deceit on a person, to wit, while in possession of material non-

    public information to which they had been entrusted, and in violation of their duties of trust and

    confidence, used the material non-public information to execute and cause and assist others to

    execute the securities transactions listed below on or about the dates listed below:

      Count       Defendant(s)                 Trade Date(s)        Transactions
                                               September 3 - 23 , Purchase of 4,020 units of
      2           BRUCE GARELICK
                                               2021               DWAC by BRUCE GARELICK
                  BRUCE GARELICK and                              Purchase of 2,000,000 warrants
                                               September 30 -
      3           MICHAEL                                         ofDWAC by MICHAEL
                                               October 5, 2021
                  SHVARTSMAN                                      SHVARTSMAN
                                                                  Purchase of 400,000 warrants of
                  BRUCE GARELICK,              October 7 - 18,
      4                                                           DWAC by GERALD
                  MICHAEL                      2021
                                                                  SHVARTSMAN

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                  SHVARTSMAN, and
                  GERALDSHVARTSMAN
                                                                    Purchase of 1,809 shares of
                  MICHAEL
      5                                        October 1, 2021      DWAC by MICHAEL
                  SHVARTSMAN
                                                                    SHVARTSMAN's neighbor
                                                                    Purchase of 500 units and
                  BRUCE GARELICK, and
                                               September 13 -       11,300 warrants ofDWAC by
      6           MICHAEL
                                               October 20, 2021     MICHAEL SHVARTSMAN's
                  SHVARTSMAN
                                                                    business associate
                  BRUCE GARELICK, and                               Purchase of 150,000 warrants of
      7           MICHAEL                      October 20, 2021     DWAC by MICHAEL
                  SHVARTSMAN                                        SHV ARTS MAN' s friend
                                                                    Purchase of 1,301 shares of
      8           GERALDSHVARTSMAN             October 19, 2021     DWAC by Outdoor Source
                                                                    Employee-I
                                                                    Purchase of 100,000 warrants of
      9           GERALD SHVARTSMAN            October 20, 2021     DWAC by Outdoor Source
                                                                    Emolovee-2

                           (Title 15, United States Code, Sections 78j(b) & 78ff;
                      Title 17, Code of Federal Regulations, Section 240.l0b-5; and
                                  Title 18, United States Code, Section 2)

                                              COUNT TEN
                                            (Securities Fraud)

           The Grand Jury further charges:

           21 .     The allegations contained in paragraphs 1 through 14 of this Indictment are

    hereby repeated, realleged, and incorporated by reference, as if fully set forth herein.

           22.      From at least in or about June 2021 through at least in or about November 2021 ,

    in the Southern District ofNew York and elsewhere, MICHAEL SHVARTSMAN, GERALD

    SHVARTSMAN, and BRUCE GARELICK, the defendants, knowingly executed, and attempted

    to execute, a scheme and artifice to (a) defraud a person in connection with a security of an

    issuer with a class of securities registered under Section 12 of the Securities Exchange Act of

    1934 and that was required to file reports under Section 15(d) of the Securities Exchange Act of

    1934, and (b) obtain, by means of false and fraudulent pretenses, representations, and promises,



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    money and property in connection with the purchase and sale of a security of an issuer with a

    class of securities registered under Section 12 of the Securities Exchange Act of 1934 and that

    was required to file reports under Section 15(d) of the Securities Exchange Act of 1934, to wit,

    the defendants executed a scheme to defraud DWAC and Benessere by misappropriating

    material non-public information for the purpose of executing securities transactions in DWAC.

                           (Title 18, United States Code, Sections 1348 and 2.)

                                    FORFEITURE ALLEGATIONS

           23.     As a result of committing the offenses alleged in Counts One through Ten of this

    Indictment, MICHAEL SHV ARTSMAN, GERALD SHV ARTSMAN, and BRUCE GARELICK,

    the defendants, shall forfeit to the United States, pursuant to Title 18, United States Code, Section

    981(a)(l)(C) and Title 28 United States Code, Section 2461(c), any and all property, real and

    personal, that constitutes or is derived from proceeds traceable to the commission of said offenses,

    including but not limited to a sum of money in United States currency representing the amount of

    proceeds traceable to the commission of said offenses.

                                         Substitute Assets Provision

           24.     If any of the above-described forfeitable property, as a result of any act or

    omission of the defendants:

                   a.      cannot be located upon the exercise of due diligence;

                   b.      has been transferred or sold to, or deposited with, a third person;

                   c.      has been placed beyond the jurisdiction of the Court;

                   d.      has been substantially diminished in value; or

                   e.      has been commingled with other property which cannot be subdivided

                   without difficulty;



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    it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p) and

    Title 28, United States Code, Section 2461 (c), to seek forfeiture of any other property of the

    defendants up to the value of the above forfeitable property.

                               (Title 18, United States Code, Section 981;
                              Title 21, United States Code, Section 853; and
                               Title 28, United States Code, Section 2461.)




           F¥.                                                      ~           v~
                                                                    DAMIAN WILLIAMS
                                                                    United States Attorney
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